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 3 SACRAMENTO, CALIFORNIA 95825
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 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     CHRISTOPHER WARREN
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )                CR. S-09-00121 FCD
10                                  )
          PLAINTIFF,                )                STIPULATION AND ORDER
11                                  )                CONTINUING THE STATUS
          v.                        )                CONFERENCE TO MONDAY
12                                  )                JULY 19, 2010
     CHRISTOPHER WARREN,            )
13                                  )
                                    )
14        DEFENDANT.                )
     ______________________________ )
15
16         The parties to this litigation, the Unites States of America, represented by
17   Assistant United States Attorneys Mr. Russell L. Carlberg and Mr. Matthew C.
18   Stegman and the defendant, Christopher Warren represented by his attorney, Mr.
19   James R. Greiner, hereby agree and stipulate that the current date set for the status
20   conference, Monday, May 17, 2010, is can be vacated and can be rescheduled for
21   Monday, July 19 , 2010, at 10:00 a.m. in Courtroom #2 before the Honorable United
22   States District Court Judge, Frank C. Damrell, Jr.
23         The Court’s courtroom deputy, Ms. Michele Krueger, was contacted to ensure
24   the Court was available and the Court is available on Monday, July 19, 2010.
25         Further, all of the parties, the United States of America and the defendant agree
26   and stipulate that time under the Speedy Trial Act can be excluded under Title 18
27   section 3161(h)(7)(b)(ii) and section 3161(h)(7)(B)(iv), corresponding to Local code
28   T-2 (the complexity of the case) and Local Code T-4 (to allow counsel time to
                                                 1
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 1   prepare) from Monday, May 17, 2010 to through and including Monday, July 19,
 2   2010.
 3                         PROCEDURAL STATUS OF THE CASE
 4           The government filed a criminal complaint on February 5, 2009. (See Docket
 5   Entry # 1) The government filed the Indictment on March 12, 2009. (See Docket
 6   Entry # 4)
 7           The defendant made his initial appearance on March 17, 2009, with a status
 8   conference set for April 20, 2009. (See Docket Entry # 8) The Court signed an Order
 9   on April 16, 2009, to continue the status conference to May 11, 2009. (See Docket
10   Entry # 16) Time was excluded under the Speedy Trial Act under Title 18, section
11   3161(h)(7)(B)(iv) which corresponds to local code T-4, reasonable time for counsel to
12   adequately prepare. (See Docket Entry # 16)
13           On May 11, 2009, defendant’s counsel withdrew from representation, and the
14   Court set June 1, 2009, as the next status conference date to appoint new counsel for
15   the defendant. (See Docket Entry # 16) Time was excluded under the Speedy Trial
16   Act
17   under Title 18 section 3161(h)(7)(b)(ii) and section 3161(h)(7)(B)(iv), corresponding
18   to Local code T-2 (the complexity of the case) and Local Code T-4 (to allow counsel
19   time to prepare).
20           On June 1, 2009, new counsel was appointed and the case was set for a status
21   conference on August 17, 2009. (See Docket Entry # 17) Time was excluded under
22   the Speedy Trial Act under Title 18 section 3161(h)(7)(b)(ii) and section
23   3161(h)(7)(B)(iv), corresponding to Local code T-2 (the complexity of the case) and
24   Local Code T-4 (to allow counsel time to prepare).
25           On August 17, 2009, a status conference was held and a new status conference
26   date on November 16, 2009, was set. (See Docket Entry # 20) Time was excluded
27   under the Speedy Trial Act under Title 18 section 3161(h)(7)(b)(ii) and section
28   3161(h)(7)(B)(iv), corresponding to Local code T-2 (the complexity of the case) and
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 1   Local Code T-4 (to allow counsel time to prepare).
 2         On November 13, 2009, the Court signed a Stipulation continuing the case to
 3   March 15, 2010, and excluding time under the Speedy Trial Act under Title 18 section
 4   3161(h)(7)(b)(ii) and section 3161(h)(7)(B)(iv), corresponding to Local code T-2 (the
 5   complexity of the case) and Local Code T-4 (to allow counsel time to prepare). (See
 6   Docket Entry # 25).
 7         On March 15, 2010, the Court held a status conference and continued the case
 8   to Monday, May 17, 2010. The Court excluded time under the Speedy Trial Act under
 9   Title 18 section 3161(h)(7)(b)(ii) and section 3161(h)(7)(B)(iv), corresponding to
10   Local code T-2 (the complexity of the case) and Local Code T-4 (to allow counsel
11   time to prepare) (See Docket Entry # 26)
12                                 STATUS OF DISCOVERY
13         On August 13, 2009, the government produced over 12,000 pages of discovery
14   in this case. On November 2, 2009, the defense sent the government a twenty-one (21)
15   page letter requesting additional discovery. The government is in the process of
16   reviewing the twenty-one page letter and responding to the defense request and
17   making additional materials available for defense review.
18               EXCLUSION OF TIME UNDER THE SPEEDY TRIAL ACT
19         The parties agree and stipulate that with the government producing over 12,000
20   pages in discovery and with the defense requesting additional discovery in a twenty-
21   one (21) page discovery letter, with the case having already been declared complex by
22   the Court, the interests of justice in granting this reasonable request for a continuance
23   outweighs all other interests in this case for a speedy trial in this case, pursuant to
24   Title 18 section 3161(h)(7)(b)(ii) and section 3161(h)(7)(B)(iv), corresponding to
25   Local code T-2 (the complexity of the case) and Local Code T-4 (to allow counsel
26   time to prepare) from Monday, May 17, 2010 to through and including Monday, July
27   19, 2010.
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 2         Respectfully submitted:
 3
                                      BENJAMIN WAGNER
 4                                    UNITED STATES ATTORNEY
 5                                    /s/ Russell Carlberg by e mail authorization
 6   DATED: 5-14-10                   _____________________________________
                                      Russell L. Carlberg
 7                                    Matthew C. Stegman
                                      ASSISTANT UNITED STATES ATTORNEYS
 8                                    ATTORNEYS FOR THE PLAINTIFF
 9
10
11   DATED: 5-14-10                   /s/ James R. Greiner
                                      ___________________________________
12                                    James R. Greiner
                                      Attorney for Defendant Christopher Warren
13
14
                                             ORDER
15
16         Based upon the representations of counsel, the record in this case, and the
17   agreements and stipulations between all counsel in the case, and that
18         All parties agree and Stipulate that this Court can make the appropriate findings
19   supported by the record in this case that this case is complex pursuant to the Speedy
20   Trial Act, Title 18 U.S.C. section 3161(h)(7)(B)(ii) and local code T-2, which allows
21   the Court to make the finding that this case is so unusual or so complex, due to the
22   nature of the prosecution, and/or the existence of novel questions of fact or law,
23   and/or, the existence of the amount of discovery, that it is unreasonable to expect
24   adequate preparation for pretrial proceedings or the trial itself within the time limits
25   established by the Speedy Trial Act. (See Docket Entries # 16, 17, 20, 25 and 26). In
26   addition, the Court can make a finding from the record in this case, that time shall also
27   be excluded under local code T-4, that time is to be excluded for the reasonable time
28   necessary for effective preparation by defense counsel and Title 18 U.S.C. section

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 1   3161(h)(7)(B)(iv), of the speedy trial act. (See Docket Entries # 8, 14, 16, 17, 20, 25
 2   and 26)
 3         The Status Conference currently set for Monday, May 17, 2010, is vacated,
 4   and the new Status Conference is set for Monday, July 19, 2010, with time
 5   excluded under the Speedy Trial Act from Monday, May 17, 2010, through to and
 6   including Monday, July 19, 2010, for the reasons agreed to and stipulated by the
 7   parties and as stated herein.
 8
 9         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
10
11   DATED: May 14, 2010
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13                                    ___________________________________
14                                    FRANK C. DAMRELL, JR.
                                      UNITED STATES DISTRICT JUDGE
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